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AO 91 (Rev. ll/l l) Criminal Complaint

 

UNITED STATES DISTRICT COUJ§,TTED FILED

 

 

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District of New Mexico BUQUERQUE, NE::/?\;lc'\/lTE§:(?UHT
United States of America ) l APR 2 00
v' ) , t 1 5 2079
) Case No. lO\ l`\/\j w :ZV% Ml
Dani@l ARCHULETA § TCHELL R. ELFE,;?
) CL_ERK 8
)
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of 4 /2 4 /2 0 l 9 in the county of Bernalill@ in the
District of N€W M€XiCO , the defendant(s) violated:

 

Code Section Ojj”ense Descrl'ption

21 U.S.C. 841(3)(1) and (b)(l)(A) Distribution of 500 Grams and More of a
Mixture and Substance Containing a
Detectable Amount of Methamphetamine

18 U.S.C. 922(g)(3) Prohibited Person in Possession of a
Firearm

This criminal complaint is based on these facts:

Please See Attached Affidavit.

Continued on the attached sheet.

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Larry Pa` ja, Special Agent, DEA

Prinled name and title

Sworn to before me and signed in my presence %W
Daf€! 4/25/2019 M

Judge 's signatureU

 

 

CHyandSUn€ Albuquerque, NM U.S. Magistrate Judge Karen B. Molzen

Printed name and title

 

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AFFIDAVIT

l, Larry Pantoj a, Special Agent of the Drug Enforcement Administration (DEA), being duly
sworn, depose and state:

I am a Special Agent (SA) of the Drug Enforcement Administration and have been so
employed since October 2015. I am currently assigned to the DEA Albuquerque District Office,
specifically assigned to investigate federal drug offenses l am a law enforcement officer of the
United States within the meaning of Title 18, United States Code Section 2510(7), who is
empowered to conduct investigations of, and make arrests for, offenses in Title 18 and Title 21 of
the United States Code. My experience as a Special Agent includes, but is not limited to,
conducting surveillance, interviewing witnesses, debriefing defendants, writing affidavits for and
executing search warrants, and working with undercover agents and informants I have received
training in and have experience in the investigation of violations of the federal drug and money
laundering laws, including the offenses listed below. As a result, l am familiar with matters
including, but not limited to, the means and methods used by persons and drug trafficking
organizations (“DTOS”) to purchase, transport, store, and distribute drugs and to hide profits
generated from those transactions

The facts set forth in this affidavit are known to me as a result of my investigation and
interviews with other agents and law enforcement officers. These are not all the facts known to me
throughout the course of this investigation, but rather only those that are essential to establish
probable cause for charging a complaint against Daniel ARCHULETA for the federal violations
listed herein.

This Affidavit is made in support of the issuance of a Criminal Complaint charging Daniel
ARCHULETA with a violation of Title 21 U.S.C. §§ 841(a)(1) and (b)(l)(A), that being
Possession with Intent to Distribute a Mixture of Substance Containing 500 Grams and More of a
Detectable Amount of Methamphetamine and a violation of Title 18 U.S.C. §§ 922(g)(3), that is
Prohibited Person in Possession of a Firearm.

PROBABLE CAUSE

ln early April 2019, law enforcements agents/officers with the Albuquerque District Office
(ADO) negotiated and conducted a 20 ounce methamphetamine purchase with ARCHULETA
utilizing an Undercover (UC). The drug transaction between ARCHULETA and the UC occurred
in a public place in Albuquerque, NM. ln exchange for $3,500 in United States currency, the UC
received two packages of suspected methamphetamine from ARCHULETA, the combined weight
of the packages was 606.1 gross grams. The substances contained in both packages were field
tested and returned positive responses for the presence of methamphetamine

On April 24, 2019, New Mexico State Police marked units initiated a traffic stop on a 2003
Cadillac Escalade, bearing New Mexico plate 31513UNM, in the area of 4“‘ Street NW and
Interstate 40 of Albuquerque, New Mexico. This vehicle is registered to “Daniel ARCHULETA.”
ARCHULETA was immediately taken into custody without incident. Within ARCHULETA’$
vehicle, agents found a digital scale, as well as torn piece of aluminum foil consistent with personal

 

 

 

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use of heroin. On April 24, 2019, ARCHULETA admitted to being a user of both heroin and
methamphetamine

At approximately 3 :30 p.m. that same day, law enforcement agents/officers executed a
Federal Search warrant at ARCHULETA’s residence located at 518 Phoenix Avenue NW,
Albuquerque, New Mexico. Agents determined the residence is ARCHULETA’s primarily
through surveillance Agents located the following items in ARCHULETA’s bedroom: one .22
caliber rifle with two loaded magazines nearby; one .223 caliber pistol with a loaded magazine
nearby; one 191 1 variant pistol with a round loaded in the chamber; one .25 caliber pistol with a
round loaded in the chamber. Among other items, agents also located scales that can be used to
weigh illegal drugs.

On April 24, 2019, agents also searched a storage unit (#G9) that ARCHULETA rented at
CubeSmart Self Storage located at 7440 Central Avenue SE, Albuquerque, New Mexico. At
approximately 5:15 p.m., agents arrived at CubeSmart storage, unit #G9, and seized a late model
shotgun with shotgun ammunition. The shotgun was not loaded.

Based on my training and experience, the .22 caliber rifle, the .223 caliber pistol, the 1911
variant pistol, and .25 caliber pistol appear to be in operable condition. All of the firearms are
commercially available l know that no commercial firearms such as these are manufactured in the
State of New Mexico. Therefore, all the firearms must have traveled in and affected interstate
commerce to reach New Mexico.

Based on the aforementioned information, there is probable cause to believe that Daniel
ARCHULETA, in April 2019, committed a violation of Title 21 U.S.C. §§ 841(a)(1) and
(b)(l)(A), that being Distribution of 500 Grams and More of a l\/Iixture and Substance Containing a
Detectable Amount of Methamphetamine; and a violation of Title 18 U.S.C. § 922(g)(3), that being
Prohibited Person in Possession of a Firearm.

All of these events occurred in Bernalillo County, in the District of New Mexico.

1 declare under the penalty of perjury that the foregoing is true and correct to the best of my

knowledge v

 

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rug Enforcern`ent Administration
Sworn before me on this the 25th day of April, 2019

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The Honorable Karen B. Molze©
United States Magistrate Judge©

 

 

